                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:07cr154


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                  ORDER
                                         )
KATHLEEN GIACOBBE (2)                    )
PORFIRIO ORTA-ROSARIO (3)                )
CHRISTOPHER OTIKO (5)                    )
________________________________________ )


        THIS MATTER is before the Court following a status conference with counsel for the

parties on December 22, 2008.

        During the hearing, counsel for defendants Kathleen Giacobbe and Porfirio Orta-Rosario

argued that the trial of this case should be continued based on delays in obtaining processed

electronic discovery from a vendor. The Court finds that a referral to a magistrate judge would

assist in resolving discovery issues and in determining whether a continuance is warranted.

        At the hearing before the magistrate judge, the vendor must appear and explain why it is

estimated that an additional ninety days are necessary to process the electronic discovery and

whether it is possible to provide the defendants information incrementally. Additionally, the

government must present a plan to make discovery available for review by defense counsel in

advance of the vendor’s provision of processed electronic discovery. The magistrate should

provide a report to the Court and recommend whether a continuance is justified, and if so, to what

date.




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       IT IS, THEREFORE, ORDERED that this matter is referred to the magistrate judge to

conduct a hearing consistent with this order within 30 days, and to report and recommend to the

Court as soon as possible after that.

                                                Signed: December 23, 2008




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